                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MICHIGAN


       In re: BENTIVOLIO, KERRY L                                     §    Case No. 15-42543-TJT
                                                                      §
                                                                      §
   Debtor(s)                                                          §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         STUART A. GOLD, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $390,717.00                          Assets Exempt: $76,995.00
 (without deducting any secured claims)
 Total Distribution to Claimants:$15,915.16            Claims Discharged
                                                       Without Payment: $174,660.78

 Total Expenses of Administration:$17,584.84


         3) Total gross receipts of $     33,500.00      (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $       0.00    (see Exhibit 2  ), yielded net receipts of $33,500.00
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                          $98,827.99             $0.00               $0.00             $0.00

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00          17,584.84         17,584.84          17,584.84

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                      0.00               0.00               0.00                 0.00
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                    195,350.00         307,534.69         180,575.94         15,915.16

                                          $294,177.99        $325,119.53        $198,160.78        $33,500.00
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on February 23, 2015.
  The case was pending for 31 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 10/11/2017                 By: /s/STUART A. GOLD
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                          UNIFORM                                  $ AMOUNT
              DESCRIPTION
                                                                                         TRAN. CODE 1                              RECEIVED
     GLOBAL SETTLEMENT WITH DEBTOR                                                       1149-000                                    22,500.00

     CONGRESSIONAL FEDERAL CU PREFERENCE                                                 1241-000                                    11,000.00


    TOTAL GROSS RECEIPTS                                                                                                            $33,500.00

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                          UNIFORM                                  $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                         TRAN. CODE                                   PAID
                                                                  None

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                                $0.00
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED               CLAIMS                  CLAIMS            CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form            ASSERTED                ALLOWED             PAID
                                                       CODE                6D)
 NOTFILED         Charter One                          4110-000              11,558.00            N/A                    N/A                       0.00

 NOTFILED         CCO Mortgage                         4110-000              87,269.99            N/A                    N/A                       0.00


    TOTAL SECURED CLAIMS                                                    $98,827.99                  $0.00             $0.00                   $0.00



EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                                      UNIFORM
        PAYEE                                                          CLAIMS                 CLAIMS                  CLAIMS            CLAIMS
                                                       TRAN.
                                                                      SCHEDULED              ASSERTED                ALLOWED             PAID
                                                       CODE
 Trustee Compensation - STUART A. GOLD                      2100-000            N/A                 4,100.00            4,100.00            4,100.00

 Trustee Expenses - STUART A. GOLD                          2200-000            N/A                      50.00            50.00                   50.00

 Clerk of the Court Costs (includes                         2700-000            N/A                     350.00           350.00                  350.00
 adversary and other filing fees) - U.S.



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 Attorney for Trustee Fees (Trustee Firm) - 3110-000          N/A        12,650.00     12,650.00     12,650.00
 GOLD, LANGE & MAJOROS, P.C.
 Attorney for Trustee Expenses (Trustee     3120-000          N/A            84.99         84.99         84.99
 Firm) - GOLD, LANGE & MAJOROS, P.C.
 Other - Rabobank, N.A.                     2600-000          N/A            13.20         13.20         13.20

 Other - Rabobank, N.A.                      2600-000         N/A            23.70         23.70         23.70

 Other - Rabobank, N.A.                      2600-000         N/A            33.80         33.80         33.80

 Other - Rabobank, N.A.                      2600-000         N/A            24.26         24.26         24.26

 Other - INSURANCE PARTNERS AGENCY, INC.     2300-000         N/A            21.23         21.23         21.23

 Other - Rabobank, N.A.                      2600-000         N/A            16.72         16.72         16.72

 Other - Rabobank, N.A.                      2600-000         N/A            16.95         16.95         16.95

 Other - Rabobank, N.A.                      2600-000         N/A            19.76         19.76         19.76

 Other - Rabobank, N.A.                      2600-000         N/A            17.46         17.46         17.46

 Other - Rabobank, N.A.                      2600-000         N/A            18.13         18.13         18.13

 Other - Rabobank, N.A.                      2600-000         N/A            20.81         20.81         20.81

 Other - Rabobank, N.A.                      2600-000         N/A            13.83         13.83         13.83

 Other - Rabobank, N.A.                      2600-000         N/A            10.00         10.00         10.00

 Other - Rabobank, N.A.                      2600-000         N/A            10.00         10.00         10.00

 Other - Rabobank, N.A.                      2600-000         N/A            10.00         10.00         10.00

 Other - Rabobank, N.A.                      2600-000         N/A            10.00         10.00         10.00

 Other - Rabobank, N.A.                      2600-000         N/A            10.00         10.00         10.00

 Other - Rabobank, N.A.                      2600-000         N/A            10.00         10.00         10.00

 Other - Rabobank, N.A.                      2600-000         N/A            10.00         10.00         10.00

 Other - Rabobank, N.A.                      2600-000         N/A            10.00         10.00         10.00

 Other - Rabobank, N.A.                      2600-000         N/A            10.00         10.00         10.00

 Other - Rabobank, N.A.                      2600-000         N/A            10.00         10.00         10.00

 Other - Rabobank, N.A.                      2600-000         N/A            10.00         10.00         10.00

 TOTAL CHAPTER 7 ADMIN. FEES                            N/A             $17,584.84    $17,584.84    $17,584.84
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                       UNIFORM
    PAYEE                                            CLAIMS           CLAIMS          CLAIMS       CLAIMS
                                        TRAN.
                                                    SCHEDULED        ASSERTED        ALLOWED        PAID
                                        CODE
                                                 None

 TOTAL PRIOR CHAPTER ADMIN.                             N/A                 $0.00         $0.00          $0.00
 FEES AND CHARGES




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EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                         UNIFORM       CLAIMS                CLAIMS
   CLAIM                                              SCHEDULED             ASSERTED            CLAIMS        CLAIMS
    NO.           CLAIMANT                TRAN.        (from Form          (from Proofs of     ALLOWED         PAID
                                          CODE             6E)                  Claim)
                                                    None

 TOTAL PRIORITY UNSECURED                                        $0.00                 $0.00          $0.00          $0.00
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                         UNIFORM       CLAIMS                CLAIMS
   CLAIM                                              SCHEDULED             ASSERTED            CLAIMS        CLAIMS
    NO.           CLAIMANT                TRAN.        (from Form          (from Proofs of     ALLOWED         PAID
                                          CODE             6F)                  Claim)
      1     SHIFMAN & CARLSON            7100-000            11,000.00              6,165.08       6,165.08         543.36

      2     DICKINSON WRIGHT PLLC        7100-000            43,950.00            43,410.86       43,410.86      3,826.04

      3     FORD MOTOR CREDIT COMPANY    7100-000          N/A                      3,975.70           0.00           0.00
            LLC
      4     ROBERT J. DINDOFFER          7100-000           120,000.00           120,000.00            0.00           0.00

      5     SOMMERS SCHWARTZ, P.C.       7100-000          N/A                   120,000.00      120,000.00     10,576.27

      6     (WRIGHT PATMAN)              7100-000            10,400.00            13,983.05       11,000.00         969.49
            CONGRESSIONAL FEDERAL CREDIT
 NOTFILED   Karen V Bentivolio           7100-000            10,000.00           N/A                 N/A              0.00

 NOTFILED   Landlord                     7100-000                   0.00         N/A                 N/A              0.00

 TOTAL GENERAL UNSECURED                                   $195,350.00          $307,534.69     $180,575.94    $15,915.16
 CLAIMS




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                                                                                                                                                            Exhibit 8


                                                                          Form 1                                                                            Page: 1

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 15-42543-TJT                                                         Trustee:       (420360)      STUART A. GOLD
Case Name:       BENTIVOLIO, KERRY L                                              Filed (f) or Converted (c): 02/23/15 (f)
                                                                                  §341(a) Meeting Date:        03/19/15
Period Ending: 10/11/17                                                           Claims Bar Date:             06/08/15

                               1                                  2                          3                      4               5                   6

                    Asset Description                          Petition/            Estimated Net Value         Property        Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)            Unscheduled       (Value Determined By Trustee,   Abandoned        Received by     Administered (FA)/
                                                                Values            Less Liens, Exemptions,      OA=§554(a)        the Estate      Gross Value of
Ref. #                                                                                and Other Costs)                                          Remaining Assets

 1       260 WHITE PINE TR, MILFORD, MI. 4838                   299,000.00                         0.00                                  0.00                   FA
         SURVIVORSHI
          Scheduled value changed per 04/11/15 amendment;
         Original value was 175,000.00

 2       PACKET CASH                                                  200.00                       0.00                                  0.00                   FA
          See asset #32 - Global settlement with debtor

 3       CONGRESSIONAL FEDERAL CREDIT UNION                           100.00                       0.00                                  0.00                   FA
         ACCOUNT 01772
          See asset #32 - Global settlement with debtor

 4       100 CAPITAL YARDS THESE MAY HAVE BEEB                    1,500.00                         0.00                                  0.00                   FA
         TAKEN 100
          See asset #32 - Global settlement with debtor

 5       NORMAL HOUSHOLD GOODS FOR 4 BEDROOM                      2,975.00                         0.00                                  0.00                   FA
         RESIDENCE WI
          * Scheduled value changed per 03/19/15
         amendment; Original value was $9,750.00
         * Scheduled value changed per 04/11/15 amendment;
         value was $8,250.00

 6       OFFICE EQUIPMENT: PRINTER 200 LAPTOP 300                     650.00                       0.00                                  0.00                   FA
         DESKTOP

 7       VARIOUS SCHOOL BOOKS FOR WHEN I WAS                      Unknown                          0.00                                  0.00                   FA
         TEACHING SCH
          Scheduled value changed per 04/11/15 amendment;
         Original value was $450.00

 8       VARIOS SUITS AND WEARING APPARAL                             750.00                       0.00                                  0.00                   FA

 9       WEDDING RING                                                 800.00                       0.00                                  0.00                   FA

10       PERSONAL CAMERA                                              350.00                       0.00                                  0.00                   FA
          See asset #32 - Global settlement with debtor

11       RIFLE MARLIN BOLG ACTION .22 CALIBER                     1,980.00                         0.00                                  0.00                   FA
         8617544; RI
          * Scheduled value changed per 4/11/15 amendment;
         Original value was $5,100.00
         ** See asset #32 - Global settlement with debtor

12       TERM LIFE POLICY LISTED IN ERROR. THE                          0.00                       0.00                                  0.00                   FA


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                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 15-42543-TJT                                                       Trustee:       (420360)      STUART A. GOLD
Case Name:       BENTIVOLIO, KERRY L                                            Filed (f) or Converted (c): 02/23/15 (f)
                                                                                §341(a) Meeting Date:        03/19/15
Period Ending: 10/11/17                                                         Claims Bar Date:             06/08/15

                               1                                  2                        3                      4               5                   6

                    Asset Description                          Petition/          Estimated Net Value         Property        Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)            Unscheduled     (Value Determined By Trustee,   Abandoned        Received by     Administered (FA)/
                                                                Values          Less Liens, Exemptions,      OA=§554(a)        the Estate      Gross Value of
Ref. #                                                                              and Other Costs)                                          Remaining Assets

         POLICY IS
          OWNED BY WIFE, PAID FOR BY WIFE AND THE
         BENEFICIARY IS THE DEBTOR HUSBAND
         * Asset description and scheduled valued changed
         per 3/19/15 amendment
         ** Asset removed per 04/11/15 amendment

13       VA PENSION BENIFITS                                      1,448.00                       0.00                                  0.00                   FA

14       FEDERAL EMPLOYEE RETIREMENT - AUTOMATIC                 38,585.00                       0.00                                  0.00                   FA
         FROM
          Asset description changed per 04/11/15 amendment

15       TEACHER RETIREMENT VESTED                               15,000.00                       0.00                                  0.00                   FA
          Asset description changed per 04/11/15 amendment

16       AMERICAN FUNDS ACCOUNT 83675xxx                         13,537.00                       0.00                                  0.00                   FA

17       THE OLD FASHION SANTA LLC                                5,000.00                       0.00                                  0.00                   FA
          * Scheduled value changed per 04/11/15
         amendment; Original value was 1.00
         **See asset #32 - Global settlement with debtor

18       DBA KERRY BENTIVOLIO FOR US CONGRESS                         0.00                       0.00                                  0.00                   FA
          * Scheduled value changed per 04/11/15
         amendment; Original value was "unknown"
         ** See asset #32 - Global settlement with debtor

19       EXPIRED TEACHERS CERTIFICATE                                 1.00                       0.00                                  0.00                   FA

20       CARGO TRAILER IN FIELD. PICTURES AVAILABLE               1,500.00                       0.00                                  0.00                   FA
          See asset #32 - Global settlement with debtor

21       1996 4 DOOR CHEVY LEASE VEHICLE                              0.00                       0.00                                  0.00                   FA
          Asset removed per 04/11/15 amendment

22       OFFICE EQUIPMENT - SEE PERSONAL                              0.00                       0.00                                  0.00                   FA
         PROPERTY ITEM 4
          Asset removed per 03/19/15 amendment

23       BROKEN PORTABLE GENERATOR, AIR                           1,500.00                       0.00                                  0.00                   FA
         COMPRESSOR WATER
          See asset #32 - Global settlement with debtor

24       FORD YARD TRACTOR TO CLEAR SNOW                          1,800.00                       0.00                                  0.00                   FA



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                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 15-42543-TJT                                                         Trustee:       (420360)      STUART A. GOLD
Case Name:        BENTIVOLIO, KERRY L                                             Filed (f) or Converted (c): 02/23/15 (f)
                                                                                  §341(a) Meeting Date:        03/19/15
Period Ending: 10/11/17                                                           Claims Bar Date:             06/08/15

                                1                                 2                          3                      4               5                   6

                     Asset Description                         Petition/            Estimated Net Value         Property        Sale/Funds         Asset Fully
          (Scheduled And Unscheduled (u) Property)           Unscheduled       (Value Determined By Trustee,   Abandoned        Received by     Administered (FA)/
                                                                Values            Less Liens, Exemptions,      OA=§554(a)        the Estate      Gross Value of
Ref. #                                                                                and Other Costs)                                          Remaining Assets

            See asset #32 - Global settlement with debtor

25        VA DISABILITY PAYMENTS                                        0.00                       0.00                                  0.00                   FA
            Asset removed per 04/11/15 amendment

26        VA PENSION BENEFITS EXEMPT UNDER MCL                    1,448.00                         0.00                                  0.00                   FA
          600.5451 (u)
            Added per 03/19/15 amendment

27        SETTLEMENT FROM BENTIVOLIO FOR                                0.00                       0.00                                  0.00                   FA
          CONGRESS PAID 20, (u)
            * Added per 04/11/15 amendment
          ** See asset #32 - Global settlement with debtor

28        2006 CHEVY MALIBU TRADED IN POST FILING                     500.00                       0.00                                  0.00                   FA
          FOR 500 (u)
            Added per 04/11/15 amendment

29        CHICKEN FEED ... CURRENTLY NO CHICKENS (u)                   50.00                       0.00                                  0.00                   FA
            Added per 04/11/15 amendment

30        BEE HIVES.. POSSIBLY SOME LIVE BEES...MOST                  900.00                       0.00                                  0.00                   FA
          LOST (u)
            Added per 04/11/15 amendment

31        MILITARY RETIREMENT PAY AS SGT FIRST                    1,143.00                         0.00                                  0.00                   FA
          CLASS (u)
            Added per 04/11/15 amendment

32        GLOBAL SETTLEMENT WITH DEBTOR                          22,500.00                    22,500.00                             22,500.00                   FA

33        CONGRESSIONAL FEDERAL CU PREFERENCE                    11,000.00                    11,000.00                             11,000.00                   FA
          (u)

 33      Assets      Totals (Excluding unknown values)         $424,217.00                   $33,500.00                            $33,500.00                $0.00



      Major Activities Affecting Case Closing:

                  07.2017 -- RECEIVED FINAL PAYMENTS; READY FOR TFR
                  03.2017 -- CONTINUE TO MONITOR STRUCTURED SETTLEMENT PAYMENTS (PAYMENTS CURRENT)
                  07.2016 -- MOTION TO ALLOW INTERIM DISTRIBUTION FILED
                  06.2016 -- ORDER ENTERED DISALLOWING CLAIM #4
                  03.2016 -- MONITOR STRUCTURED SETTLEMENT PAYMENTS (PAYMENTS CURRENT)
                  09.2015 -- SETTLEMENT MOTION FILED RE: PREFERENCE ACTION



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                                                                         Form 1                                                                                 Page: 4

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 15-42543-TJT                                                      Trustee:       (420360)      STUART A. GOLD
Case Name:       BENTIVOLIO, KERRY L                                           Filed (f) or Converted (c): 02/23/15 (f)
                                                                               §341(a) Meeting Date:        03/19/15
Period Ending: 10/11/17                                                        Claims Bar Date:             06/08/15

                                1                                    2                    3                       4                  5                      6

                    Asset Description                           Petition/        Estimated Net Value         Property            Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)             Unscheduled   (Value Determined By Trustee,   Abandoned            Received by     Administered (FA)/
                                                                 Values        Less Liens, Exemptions,      OA=§554(a)            the Estate      Gross Value of
Ref. #                                                                             and Other Costs)                                              Remaining Assets

                08.2015 -- MONITOR COLLECTION OF STRUCTERED SETTLEMENT PAYMENTS
                06.2015 -- SETTLEMENT MOTION FILED
                05.2015 -- INVESTIGATING DEBTOR'S FINANCIAL AFFAIRS; PURSUE NON-EXEMPT EQUITY IN PERSONAL PROPERTY

     Initial Projected Date Of Final Report (TFR):   March 1, 2017               Current Projected Date Of Final Report (TFR):     July 18, 2017 (Actual)




               October 11, 2017                                                         /s/ STUART A. GOLD
          __________________________                                                    _________________________________________________________________
                         Date                                                           STUART A. GOLD




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                                                                           Form 2                                                                                 Page: 1

                                               Cash Receipts And Disbursements Record
Case Number:        15-42543-TJT                                                            Trustee:            STUART A. GOLD (420360)
Case Name:          BENTIVOLIO, KERRY L                                                     Bank Name:          Rabobank, N.A.
                                                                                            Account:            ******9166 - Checking Account
Taxpayer ID #: **-***0060                                                                   Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 10/11/17                                                                     Separate Bond: N/A

   1            2                         3                                 4                                               5                     6           7

 Trans.     {Ref #} /                                                                                                   Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From            Description of Transaction               T-Code              $                   $       Account Balance
09/04/15      {32}       KERRY BENTIVOLIO              Acct #1; Payment #0; SETTLEMENT P /O            1149-000             12,500.00                         12,500.00
                                                       07/20/15
09/28/15                 KERRY BENTIVOLIO              Acct #1; Payment #1, 2; SETTLEMENT P /O                                  500.00                        13,000.00
                                                       07/20/15
              {32}                                       Acct #1; Payment #1;              250.00      1149-000    M                                          13,000.00
                                                         SETTLEMENT P /O
                                                         07/20/15
              {32}                                       Acct #1; Payment #2;              250.00      1149-000    M                                          13,000.00
                                                         SETTLEMENT P /O
                                                         07/20/15
09/30/15                 Rabobank, N.A.                Bank and Technology Services Fee                2600-000                                       13.20   12,986.80
10/06/15      {32}       KERRY BENTIVOLIO              Acct #1; Payment #3; SETTLEMENT P /O            1149-000                 250.00                        13,236.80
                                                       07/20/15
10/20/15      {33}       CONGRESSIONAL FEDERAL         SETTLEMENT P/O 10/14/15                         1241-000             11,000.00                         24,236.80
                         CREDIT UNION
10/30/15                 Rabobank, N.A.                Bank and Technology Services Fee                2600-000                                       23.70   24,213.10
11/13/15      {32}       KERRY BENTIVOLIO              Acct #1; Payment #4; SETTLEMENT P /O            1149-000                 250.00                        24,463.10
                                                       07/20/15
11/30/15                 Rabobank, N.A.                Bank and Technology Services Fee                2600-000                                       33.80   24,429.30
12/04/15      101        GOLD, LANGE & MAJOROS, P.C.   ATTORNEY FOR TRUSTEE FEES                                                                  12,734.99   11,694.31
                                                       ($12,650.00) AND EXPENSES ($84.99) P/O
                                                       12/04/15
                                                         ATTORNEY FOR                 12,650.00        3110-000    M                                          11,694.31
                                                         TRUSTEE FEES P/O
                                                         12/04/15
                                                         ATTORNEY FOR                       84.99      3120-000    M                                          11,694.31
                                                         TRUSTEE EXPENSES
                                                         P/O 12/04/15
12/08/15      {32}       KERRY BENTIVOLIO              Acct #1; Payment #5; SETTLEMENT P /O            1149-000                 250.00                        11,944.31
                                                       07/20/15
12/31/15                 Rabobank, N.A.                Bank and Technology Services Fee                2600-000                                       24.26   11,920.05
01/11/16      {32}       KERRY BENTIVOLIO              Acct #1; Payment #6; SETTLEMENT P /O            1149-000                 250.00                        12,170.05
                                                       07/20/15
01/11/16      102        INSURANCE PARTNERS            BLANKET BOND                                    2300-000                                       21.23   12,148.82
                         AGENCY, INC.
01/29/16                 Rabobank, N.A.                Bank and Technology Services Fee                2600-000                                       16.72   12,132.10
02/15/16      {32}       KERRY BENTIVOLIO              Acct #1; Payment #7; SETTLEMENT P /O            1149-000                 250.00                        12,382.10
                                                       07/20/15
03/01/16                 Rabobank, N.A.                Bank and Technology Services Fee                2600-000                                       16.95   12,365.15
                                                                                             Subtotals :                  $25,250.00             $12,884.85
{} Asset reference(s)   15-42543-tjt          Doc 93
                                              M-Memo     Filed 10/23/17              Entered 10/23/17 12:41:03Printed:Page    1001:19
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                                               Cash Receipts And Disbursements Record
Case Number:        15-42543-TJT                                                            Trustee:            STUART A. GOLD (420360)
Case Name:          BENTIVOLIO, KERRY L                                                     Bank Name:          Rabobank, N.A.
                                                                                            Account:            ******9166 - Checking Account
Taxpayer ID #: **-***0060                                                                   Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 10/11/17                                                                     Separate Bond: N/A

   1            2                         3                                 4                                               5                     6            7

 Trans.     {Ref #} /                                                                                                   Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From            Description of Transaction               T-Code              $                   $       Account Balance
03/10/16      {32}       KERRY BENTIVOLIO              Acct #1; Payment #8; SETTLEMENT P /O            1149-000                 250.00                         12,615.15
                                                       07/20/15
03/31/16                 Rabobank, N.A.                Bank and Technology Services Fee                2600-000                                        19.76   12,595.39
04/29/16                 KERRY BENTIVOLIO              Acct #1; Payment #10, 9; SETTLEMENT P /O                                 500.00                         13,095.39
                                                       07/20/15
              {32}                                       Acct #1; Payment #10;             250.00      1149-000    M                                           13,095.39
                                                         SETTLEMENT P /O
                                                         07/20/15
              {32}                                       Acct #1; Payment #9;              250.00      1149-000    M                                           13,095.39
                                                         SETTLEMENT P /O
                                                         07/20/15
04/29/16                 Rabobank, N.A.                Bank and Technology Services Fee                2600-000                                        17.46   13,077.93
05/31/16                 Rabobank, N.A.                Bank and Technology Services Fee                2600-000                                        18.13   13,059.80
06/13/16      {32}       KERRY BENTIVOLIO              Acct #1; Payment #11; SETTLEMENT P /O           1149-000                 250.00                         13,309.80
                                                       07/20/15
06/30/16                 Rabobank, N.A.                Bank and Technology Services Fee                2600-000                                        20.81   13,288.99
07/07/16      103        SHIFMAN & CARLSON             INTERIM DISTRIBUTION OF ALLOWED                 7100-000                                       341.42   12,947.57
                                                       CLAIM 1 P/O 07/06/16; DIVIDEND PAID OF
                                                       5.53% ON ALLOWED CLAIM OF $6,165.08;
                                                       REFERENCE # 9203
07/07/16      104        DICKINSON WRIGHT PLLC         INTERIM DISTRIBUTION OF ALLOWED                 7100-000                                    2,404.02    10,543.55
                                                       CLAIM 2 P/O 07/06/16; DIVIDEND PAID OF
                                                       5.53% ON ALLOWED CLAIM OF $43,410.86
07/07/16      105        SOMMERS SCHWARTZ, P.C.        INTERIM DISTRIBUTION OF ALLOWED                 7100-000                                    6,645.40        3,898.15
                                                       CLAIM 5 P/O 07/06/16; DIVIDEND PAID OF
                                                       5.53% ON ALLOWED CLAIM OF
                                                       $120,000.00; REFERENCE # DINDOFFER
07/07/16      106        (WRIGHT PATMAN)               INTERIM DISTRIBUTION OF ALLOWED                 7100-000                                       609.16       3,288.99
                         CONGRESSIONAL FEDERAL         CLAIM 6 P/O 07/06/16; DIVIDEND PAID OF
                         CREDIT UNION                  5.53% ON ALLOWED CLAIM OF $11,000.00
07/11/16      {32}       KERRY BENTIVOLIO              Acct #1; Payment #12; SETTLEMENT P /O           1149-000                 250.00                             3,538.99
                                                       07/20/15
07/29/16                 Rabobank, N.A.                Bank and Technology Services Fee                2600-000                                        13.83       3,525.16
08/08/16      {32}       KERRY BENTIVOLIO              Acct #1; Payment #13; SETTLEMENT P /O           1149-000                 250.00                             3,775.16
                                                       07/20/15
08/31/16                 Rabobank, N.A.                Bank and Technology Services Fee                2600-000                                        10.00       3,765.16
09/09/16      {32}       KERRY BENTIVOLIO              Acct #1; Payment #14; SETTLEMENT P /O           1149-000                 250.00                             4,015.16
                                                       07/20/15
09/30/16                 Rabobank, N.A.                Bank and Technology Services Fee                2600-000                                        10.00       4,005.16

                                                                                             Subtotals :                    $1,750.00            $10,109.99
{} Asset reference(s)   15-42543-tjt          Doc 93
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                                               Cash Receipts And Disbursements Record
Case Number:        15-42543-TJT                                                             Trustee:            STUART A. GOLD (420360)
Case Name:          BENTIVOLIO, KERRY L                                                      Bank Name:          Rabobank, N.A.
                                                                                             Account:            ******9166 - Checking Account
Taxpayer ID #: **-***0060                                                                    Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 10/11/17                                                                      Separate Bond: N/A

   1            2                         3                                  4                                               5                    6            7

 Trans.     {Ref #} /                                                                                                    Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From            Description of Transaction                T-Code              $                   $       Account Balance
10/11/16      {32}       KERRY BENTIVOLIO              Acct #1; Payment #15; SETTLEMENT P /O            1149-000                 250.00                            4,255.16
                                                       07/20/15
10/31/16                 Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                      10.00        4,245.16
11/14/16      {32}       KERRY BENTIVOLIO              Acct #1; Payment #16; SETTLEMENT P /O            1149-000                 250.00                            4,495.16
                                                       07/20/15
11/30/16                 Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                      10.00        4,485.16
12/08/16      {32}       KERRY BENTIVOLIO              Acct #1; Payment #17; SETTLEMENT P /O            1149-000                 250.00                            4,735.16
                                                       07/20/15
12/30/16                 Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                      10.00        4,725.16
01/16/17      {32}       KERRY BENTIVOLIO              Acct #1; Payment #18; SETTLEMENT P /O            1149-000                 250.00                            4,975.16
                                                       07/20/15
01/31/17                 Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                      10.00        4,965.16
02/10/17      {32}       KERRY BENTIVOLIO              Acct #1; Payment #19; SETTLEMENT P /O            1149-000                 250.00                            5,215.16
                                                       07/20/15
02/28/17                 Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                      10.00        5,205.16
03/07/17      {32}       KERRY BENTIVOLIO              Acct #1; Payment #20; SETTLEMENT P /O            1149-000                 250.00                            5,455.16
                                                       07/20/15
03/31/17                 Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                      10.00        5,445.16
04/13/17      {32}       KERRY BENTIVOLIO              Acct #1; Payment #21; SETTLEMENT P /O            1149-000                 250.00                            5,695.16
                                                       07/20/15
04/28/17                 Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                      10.00        5,685.16
05/17/17      {32}       KERRY BENTIVOLIO              Acct #1; Payment #22; SETTLEMENT P /O            1149-000                 250.00                            5,935.16
                                                       07/20/15
05/31/17                 Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                      10.00        5,925.16
06/14/17      {32}       KERRY BENTIVOLIO              Acct #1; Payment #23; SETTLEMENT P /O            1149-000                 250.00                            6,175.16
                                                       07/20/15
06/30/17                 Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                      10.00        6,165.16
07/11/17                 KERRY BENTIVOLIO              Acct #1; Payment #24, 25; SETTLEMENT P /O                              4,250.00                         10,415.16
                                                       07/20/15
              {32}                                       Acct #1; Payment #24;             250.00       1149-000    M                                          10,415.16
                                                         SETTLEMENT P /O
                                                         07/20/15
              {32}                                       Acct #1; Payment #25;            4,000.00      1149-000    M                                          10,415.16
                                                         SETTLEMENT P /O
                                                         07/20/15
08/16/17      107        STUART A. GOLD                Dividend paid 100.00% on $4,100.00, Trustee      2100-000                                   4,100.00        6,315.16
                                                       Compensation; Reference:
08/16/17      108        STUART A. GOLD                Dividend paid 100.00% on $50.00, Trustee         2200-000                                      50.00        6,265.16

                                                                                              Subtotals :                    $6,500.00            $4,240.00
{} Asset reference(s)   15-42543-tjt          Doc 93
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                                                   Cash Receipts And Disbursements Record
Case Number:        15-42543-TJT                                                                     Trustee:            STUART A. GOLD (420360)
Case Name:          BENTIVOLIO, KERRY L                                                              Bank Name:          Rabobank, N.A.
                                                                                                     Account:            ******9166 - Checking Account
Taxpayer ID #: **-***0060                                                                            Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 10/11/17                                                                              Separate Bond: N/A

   1            2                           3                                          4                                             5                     6            7

 Trans.     {Ref #} /                                                                                                            Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From                  Description of Transaction                  T-Code              $                  $       Account Balance
                                                            Expenses; Reference:
08/16/17      109        U.S. BANKRUPTCY COURT              Dividend paid 100.00% on $350.00, Clerk of          2700-000                                       350.00       5,915.16
                                                            the Court Costs (includes adversary and other
                                                            filing fees); Reference:
08/16/17      110        SHIFMAN & CARLSON                  FINAL DISTRIBUTION OF ALLOWED CLAIM                 7100-000                                       201.94       5,713.22
                                                            #1; DIVIDEND PAID OF 8.81% ON
                                                            ALLOWED CLAIM OF $6,165.08;
                                                            REFERENCE # 9203
08/16/17      111        DICKINSON WRIGHT PLLC              FINAL DISTRIBUTION OF ALLOWED CLAIM                 7100-000                                    1,422.02        4,291.20
                                                            #2; DIVIDEND PAID OF 8.81% ON
                                                            ALLOWED CLAIM OF $43,410.86;
                                                            REFERENCE #
08/16/17      112        SOMMERS SCHWARTZ, P.C.             FINAL DISTRIBUTION OF ALLOWED CLAIM                 7100-000                                    3,930.87         360.33
                                                            #5; DIVIDEND PAID OF 8.81% ON
                                                            ALLOWED CLAIM OF $120,000.00;
                                                            REFERENCE # DINDOFFER
08/16/17      113        (WRIGHT PATMAN)                    FINAL DISTRIBUTION OF ALLOWED CLAIM                 7100-000                                       360.33           0.00
                         CONGRESSIONAL FEDERAL              #6; DIVIDEND PAID OF 8.81% ON
                         CREDIT UNION                       ALLOWED CLAIM OF $11,000.00;
                                                            REFERENCE #

                                                                                  ACCOUNT TOTALS                                     33,500.00             33,500.00          $0.00
                                                                                           Less: Bank Transfers                           0.00                   0.00
                                                                                  Subtotal                                           33,500.00             33,500.00
                                                                                           Less: Payments to Debtors                                             0.00
                                                                                  NET Receipts / Disbursements                     $33,500.00             $33,500.00

                              Net Receipts :          33,500.00
                                                  ————————                                                                             Net             Net              Account
                                   Net Estate :      $33,500.00                   TOTAL - ALL ACCOUNTS                               Receipts     Disbursements         Balances

                                                                                  Checking # ******9166                             33,500.00              33,500.00           0.00

                                                                                                                                   $33,500.00             $33,500.00          $0.00




{} Asset reference(s)   15-42543-tjt              Doc 93       Filed 10/23/17                  Entered 10/23/17 12:41:03Printed:Page    1301:19
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